                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

 UNITED STATES OF AMERICA                        )
                                                 )        Case No. 4:16-cr-11
 v.                                              )
                                                 )        Judge Travis R. McDonough
 MICHAEL KNIGHTEN                                )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

 twelve-count Indictment; (2) accept Defendant’s guilty plea as to as to the lesser included

 offense of the charge in Count One of the Indictment, that is of conspiracy to distribute and

 possess with intent to distribute methamphetamine (actual), a Schedule II controlled substance,

 in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate the Defendant

 guilty of lesser included offense of the charge in Count One of the Indictment, that is of

 conspiracy to distribute and possess with intent to distribute methamphetamine (actual), a

 Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

 (4) defer a decision on whether to accept the plea agreement until sentencing; and (5) order that

 Defendant remain in custody until sentencing in this matter (Doc. 71). Neither party filed a

 timely objection to the report and recommendation. After reviewing the record, the Court agrees

 with Magistrate Judge Lee’s report and recommendation. Accordingly, the Court ACCEPTS

 and ADOPTS the magistrate judge’s report and recommendation (Doc. 71) pursuant to 28

 U.S.C. § 636(b)(1) and ORDERS as follows:



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    1. Defendant’s motion to withdraw his not guilty plea as to the lesser included offense of

       the charge in Count One of the Indictment, that is of conspiracy to distribute and possess

       with intent to distribute methamphetamine (actual), a Schedule II controlled substance, in

       violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) of the Indictment is

       GRANTED;

    2. Defendant’s plea of guilty to lesser included offense of the charge in Count One of the

       Indictment, that is of conspiracy to distribute and possess with intent to distribute

       methamphetamine (actual), a Schedule II controlled substance, in violation of 21 U.S.C.

       §§ 846, 841(a)(1), and 841(b)(1)(C) is ACCEPTED;

    3. Defendant is hereby ADJUDGED guilty of lesser included offense of the charge in

       Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

       distribute methamphetamine (actual), a Schedule II controlled substance, in violation of

       21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

    4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

    5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on February 10, 2017 at 9:00 a.m. [EASTERN] before the

       undersigned.

    SO ORDERED.


                                              /s/Travis R. McDonough
                                              TRAVIS R. MCDONOUGH
                                              UNITED STATES DISTRICT JUDGE




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